Case 4:23-cv-00029-O Document 1-3 Filed 01/09/23   Page 1 of 8 PageID 59




              EXHIBIT B
Case 4:23-cv-00029-O Document 1-3 Filed 01/09/23   Page 2 of 8 PageID 60
Case 4:23-cv-00029-O Document 1-3 Filed 01/09/23   Page 3 of 8 PageID 61
Case 4:23-cv-00029-O Document 1-3 Filed 01/09/23   Page 4 of 8 PageID 62
Case 4:23-cv-00029-O Document 1-3 Filed 01/09/23   Page 5 of 8 PageID 63
Case 4:23-cv-00029-O Document 1-3 Filed 01/09/23   Page 6 of 8 PageID 64
Case 4:23-cv-00029-O Document 1-3 Filed 01/09/23   Page 7 of 8 PageID 65
Case 4:23-cv-00029-O Document 1-3 Filed 01/09/23   Page 8 of 8 PageID 66
